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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 PAMELA WILLIAMS, on behalf of herself and all others
 similarly situated,

                                   Plaintiff,                          No. 20-CV-4956 (RA)

                              v.                                              ORDER
 WEISER CLASSIC CANDY,


                                   Defendant.


RONNIE ABRAMS, United States District Judge:

       This action was filed on June 29, 2020. On July 7, 2020, the Court ordered the parties to

meet and confer in an attempt to settle the action within thirty days of service, and, within 45

days of service, to submit a joint letter. See Dkt. 5. The parties did not do so. On October 22, the

Court extended the parties’ deadline to do so until November 5, 2020. See Dkt. 7. Again, the

parties did not meet this deadline. No later than November 13, 2020, the parties are ordered to

submit a joint letter requesting that the Court either (1) refer the case to mediation or a magistrate

judge (and indicate a preference between the two options), or (2) schedule an initial status

conference in the matter. Failure to file the letter may result in dismissal of this action for

failure to prosecute pursuant to Rule 41(b) of the Federal Rules of Civil Procedure.



SO ORDERED.

 Dated:          November 6, 2020
                 New York, New York

                                                      ________________________________
                                                      Ronnie Abrams
                                                      United States District Judge
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